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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


                                  )
 UNITED  STATES OF AMERICA, )
                            )
      v.                    ) Criminal Action No. 05-100 2 (RWR)
                            )
 DAVID WILSON,              )
                            1
            Defendants.     1
                            )

                              DETENTION MEMORANDUM              I                   ':
      David Wilson was charged along with 14 other defenda'ts in a

 73-count indictment with a narcotics conspiracy and reJat d
 violations.    A magistrate judge held a detention hearing E nd
 released Wilson into the high intensity supervision progr Lm.                     The
                                                          I
 government appealed the release order, and following a he,rlng,

 this court ordered that Wilson be held without bond pendi'g trial
in this case.      This detention memorandum is submitted to f amply
 with the statutory obligation that "the judicial officer 1 hall
 include written findings of fact and a written statement of the

 reasons for the detention."          18 U.S.C. 5 3142(i)(l).
                                THE BAIL STATUTE
      Under the Bail Reform Act, 18 U.S.C. § 3141, et seq., a
 person awaiting trial on a federal offense may be releasec .on
 personal recognizance or bond, conditionally released, or
 detained.     18 U.S.C. § 3142(a) (2000).        A presumption that "no
 condition or combination of conditions of release will
 reasonablely assure the . _ . safety of the community" arises
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when "the judicial officer finds that there is probable c use to
believe that the,person committed an offense for which a               aximum
term of imprisonment of ten years or more is prescribed i               the
Controlled Substances Act."        18 U.S.C. 3142(e).
     To rebut the statutory presumption in favor of pretr al
detention, a defendant may present evidence that he is nc                a risk
of flight and that he does not pose a danger to the commu ity.
In determining'whether there are conditions of release th t will

reasonably assure his appearance as required and the safe J of
any other person and the community, a court must consider zhe
following factors:
     (1) The nature and circumstances of, the offense cha FL
     including whether the offense is a crime of violence 31
     involves a narcotic drug;

     (2)   the weight of the evidence against the person;

     (3) the history and characteristics of the person,
     including

           (A) the person's character, physical and menta
           condition, family ties, employment, financial
           resources, length of residence in the community
           community ties, past conduct, history relating 3 drug
           or alcohol abuse, criminal history, and record'
           concerning appearance at court proceedings; and
           . . .

     (4) the nature and seriousness of the danger to any 3erson
     or the community that would be posed by the person's
     release.
18 U.S.C. §§ 3142(g).        A determination of dangerousness m St be
supported by clear and convincing evidence, United States J-
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Alatishe,   768 F.2d   364, 370 (D.C. Cir. 1985), while a
determination of risk of flight must be supported by a
preponderance of the evidence.        United States v. Vortis,           85    F.2d
327, 330 (D.C.   Cir. 1986).     Dangerousness includes a danc !r that
a defendant will engage in illegal narcotics transaction,5
United States v. Williams, 903 F.2d 844 (D.C. Cir. 1990); United
States v. Thomas, 871 F.Zd 1149 (D.C. Cir. 1989); see al: ! United
States v. Brown, 1989 WL 105501 (D.C. Cir. 1989).

                                 DISCUSSION
I.    GOVERNMENT'S EVIDENCE
     At the detention hearing before this court, the govc nment
proceeded by a proffer which sought to link the defendant to a
history of drug dealing, two murders, and a recent drug
transaction that occurred while the defendant was in jail
United States v. Smith, 79 F.3d 1208, 1210 (D.C. Cir. 191
(allowing government proffer).
      A.    Drug dealing from 1991 to 2001
      The government proffered evidence from multiple COOL !rating
witnesses and an informant with first hand knowledge of t le drug
conspiracy, and evidence of controlled purchases of drug: l~frorn
the defendant and from recorded transactions with defenda rlt.                 The
government often offered its assessment of those individu a IS'
reliability or prior testimony.        Cooperating witness #l ('\CWIN),
who has pled guilty to the drug conspiracy that is the baslis of
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          the indictment in this case, provided information that the
          government substantially corroborated.          The government fo~und this
          witness to be truthful.      CWl said that between 1999 and 21000,
          Wilson sold ounce quantities of crack cocaine to CWl six 'times,
          and Wilson bought wholesale amounts of crack cocaine fro                  CWl,
          amounting to ten to twenty $10 bags at once.                         .'
               Cooperating witness #2 ("CW2") also pled guilty to a drug
          conspiracy involving these defendants.          CW2's testimony led to
          nine individuals pleading guilty and corroborating CW2's I
          information.   CW2 had personal knowledge that Wilson was hnvolved
          in drugs as early as 1991 to 1993.          CW2 supplied Wilson o 1 nce
          (28 gram) quantities of crack cocaine twice a week for se era1
          months in 1998.    Between 1999 and 2000, Wilson asked to b,y
                                                                     %
          larger quantities of crack from CW2.          Wilson bought 62 gr+ms of
          crack five times, and 125 grams of crack twice, from CW2.

          Sometime in 2000 or 2001, the defendant asked CW2 for 500 grams
          of crack.
               Cooperating witness #3 ("CW3"), a close acquaintance of
          Wilson's, pled guilty to the conspiracy charged here and

          testified four times for the government.          CW3 was not impeached
          on cross-examination, according to the government, and th, FBI
                                                                   g
          corroborated information provided by CW3. In the late 19 OS and
                                                                   si
          early 2OOOs, CW3 saw Wilson with 250 grams of crack cocaine and
          125 grams of powder numerous times.




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     Cooperating witness #4 (\'CW4"), who also pled guilty to this
drug conspiracy, has testified twice in D.C. Superior Coujrt for
the government.    CW4 sold cocaine powder to Wilson seven times
between 2000 and early 2001 in amounts of 62 or 93 grams.               cw4
also saw%Wilson sell an ounce of crack in a 2001 control1 d
purchase.
     Cooperating witness #6 ("cW6") pled guilty to this d Iug
conspiracy and testified twice for the government.             The
government said that CW6's testimony was not substantially
impeached at trial.     CW6 supplied Wilson with 62 grams of crack
cocaine ten times in 1996 and 1997.
     Cooperating witness #7 ("CW7") testified twice in this
court.   The government averred that the testimony was not
substantially impeached, and that significant information CWI
gave was corroborated.       CW7 supplied Wilson with $10 bags          one-
                                                         \
eighth ounces, and quarter ounces of cocaine during the mid-
1990s.
     The government extensively debriefed an informant ("C9"),
and C9's information was corroborated at a high level by other
cooperators and the FBI investigation.         For approximately five or
six months during 2000 to 2001, C9 dealt drugs with Wilso :I and
bought drugs from a supplier for Wilson once a week.
buys corroborated these allegations.
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     Wilson distributed crack cocaine during controlled
transactions on May 16, May 25, June 28, July 7, and October 17,

2000, and on January 24 and February 14, 2001.           The 2001 sales
involved amounts of 10.9 grams and 19.4 g~rams of crack,
respectively.
     The government also has electronic evidence of Wilson's drug
transactions.    The government recorded Wilson on January 26, 2001
agreeing to distribute ounce quantities of crack cocaine to
cooperating witnesses in the future, and on March 20,                       5,

and April 26, 2001, distributing crack.

     B.   Violence
                                                                     I
     The government also proffered evidence linking Wilso' to the

murders of Sam Phillips and Travon Shaw.                 n
                                          CW4, an accompl'ce,
said he drove Wilson to Phillips, lent Wilson a gun, and i aw
Wilson shoot and kill Phillips on February 6, 2001. An
eyewitness description of the shooter fit Wilson's descri tion,
but not that of CW4, who is much taller.         A grand jury~1
                                                              fo nd
                                                         I
probable cause that Wilson committed the murder and Super'or
,Court Judge Natalia Combs Greene found that there was a
substantial probability1 that Wilson committed the murder.
     In April 2004, Travon Shaw was shot twice, allegedly by
Antwuan Ball, a co-defendant in this case.          Two witnesses


     1 The substantial probability standard is lower than the
clear and convincing evidence standard. Brvan v. United States,
831 A.2d 383, 385-85 (D.C. 2003).
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reported hearing a third shot and seeing Wilson walking f 3rn Shaw
holding a gun, but no eye witnesses saw Wilson fire the c n at
the victim.     The grand jury found probable cause, and SUF rior
Court Judge Robert Richter found a substantial probabilit , that
Wilson shot Travon Shaw.
     C.     D.C. Jail drucr transaction on June 5, 2002
     The government proffered new evidence ,not presented              <3    the
                                                          1
magistrate judge of Wilson's involvement in a drug transa!C cion in
the D.C. Jail.     Three witnesses provided evidence of this: cevent.
     An inmate, who knows Wilson well from before their c :‘i’:rrent
detention in D.C. Jail, saw someone go to inmate Desmond
Thurston, a co-defendant in this case, and say that somec 3 in
the hallway wanted Thurston.       The witness identified Wils I as
the man who was waiting for Thurston in the hallway weari !J a
kufi and using a mop and bucket.        The witness saw Thurstosnn go to
his cell and then approach an inmate named Gonzales.              The?YC eafter,
a correctional officer intercepted Gonzales and pried ape:n his
hands.    Wilson then left the area.        The government has d<:b riefed
the inmate witness on a number of occasions and says that he
appears to be credible and that his information has been
corroborated.
     Another witness, the correctional officer ("CO"), g; e
information that dovetailed with the inmate witness's account.
The CO saw an inmate wearing a kufi with a mop and a bucket
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  mopping the same space for 25 minutes.          The CO thought it
  appeared that he was waiting for something or someone.               At about
  1:15 p.m., the CO saw Thurston speak to inmate Gonzales aqx J. hand
  him something.      Gonzales moved towards the man wearing the              kufi
  with the mop and bucket.        The CO asked Gonzales what he h; 1 in
  his hand, and then confiscated what turned out 'to be a zi.] Lock
  bag of heroin.      The CO saw the man with the kufi, mop and >ucket
  leave.     The CO later saw and identified Wilson as that ma, W h e n

  shown a single photo of Wilson thereafter, the CO confirm< 1 that
  Wilson was the man with the kufi, mop and bucket.

        The third witness was Gonzales, the middle man in the
  attempted drug transaction.        Gonzales provided a descript: >n of a
  man with a kufi, mop and bucket that matched the other
  descriptions, but he could not identify a photo of Wilson,
  Gonzales said that Thurston handed him a baggie, and said I \’'give
  this to him," gesturing toward the man with the kufi, mop and

  bucket, who was the only person in that area.
  II.   DEFENDANT'S REBUTTAL

        The defense attempted to rebut the presumption of
  dangerousness and show that Wilson could not have been th,                  man
  with the kufi, mop and bucket.
        A.     Cooperators
        The defendant claims that CW2 was impeached at a pre' v;:ious
  trial.     However, he has not shown that the impeachment was on any




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matter of significance.       The defense also says that CW3'7
testimony should not be credited since CW3 testified
Wilson in a trial at which Wilson was acquitted.                           not

necessarily undercut the government's information about             W3 since
multiple factors could produce an acquittal.          The defendant
further alleges, without any supporting detail, that CW4 admitted
committing perjury.    Even if the allegation is true, CW4's
information about Wilson's 2001 crack sale was corroborated since
the sale was a government-controlled transaction.

     B.     Violence                                                I
     The defense maintains that the,government's evidence
regarding the two murders on the whole does not establish clearly
and convincingly that releasing Wilson would pose a dange    of
                                                           .
violence.    The evidence of Shaw's murder provides no more than a
substantial probability of Wilson's dangerousness.            While the
independent eyewitness description of which person shot Phillips
in 2001 provides more direct evidence of Wilson's danger0
than does the evidence, in the Shaw murder, the government
presented clear and convincing evidence overall that Wilsbnls
release would pose a current risk to the community of viofence.
     C.     D.C. Jail event
     The defense introduced a copy of a log from the jail which
reflects that Wilson left the jail's lawyer consultation room at
1:00 p.m. on June 5, 2005.       The defense argues that if the CO is
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correct that the man with the kufi mopped for 25 minutes and the
heroin interception occurred at 1:15, then that man could not
                                                         I
have been Wilson. Although this evidence is sufficient o
undercut the CO's time estimate, it is not enough to und1 rcut the
interlocking statements of three eyewitnesses that

identification of Wilson, or undercut the inference
mopping the same space for even 15 minutes that he

for the heroin delivery.'
     The defense called as a witness Sgt. James E. Johnson, Jr.,
the correctional officer in charge of assigning inmates to
cleaning details.     Johnson testified that he had not assigned
Wilson to any cleaning detail that day.          He added that he was not
permitted to assign Wilson to an area off of Wilson's housing
unit, such as the hallway where this event occurred.
admitted that Lt. Holmes, Johnson's superior, was
assign Wilson away from his unit.          Because Holmes moves among
inmates while Johnson has a desk job, Holmes could have m de such
                                                         b
an assignment without Johnson's knowledge of it. According to

Johnson, Holmes has done this in the past.           The government
reported, though, that Holmes denied making ad hoc inmate
assignments, but has no recollection of June 5, 2005.              While the
defense is to be commended for investigating and raising
questions about the ability of Wilson to be assigned to or be
present at a detail where this transaction occurred, the record
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does not show that it would have been impossible for Wils ,n t                 o

get to this hallway on June 5, 2005 and be present there ior some
time before 1:15 p.m.          The inconsistencies are not enough to
undercut the three eyewitnesses whose interlocking staterr :nts
identify Wilson as the man in the kufi with the mop and 13 lcket.
III. NATURE AND CIRCUMSTANCES OF THE OFFENSES CHARGED
       The crimes charged in the indictment are serious nar :otic
drug crimes, stretching over a time period from 1992 unti 2005.
All counts of the indictment, except one, trigger the pre lumption
favoring pretrial detention.

IV.    WEIGHT OF THE EVIDENCE AGAINST DEFENDANT
       The government's evidence of Wilson's substantial
involvement in the narcotics activities with which he is                 charged
is weighty and largely undisputed.            The government has pr sffered
nine cooperating individuals and corroborating electronic
evidence.
V.     HISTORY AND CHARACTERISTICS OF DEFENDANT
       Wilson does not appear to have any physical or menta
impairments.      Throughout the detention hearing, he appear ?d
sufficiently alert and without any apparent health proble IS.                  He
has three children, an aunt and a brother in the District of
Columbia, according to the Pretrial Services report.                Wil son is
unemployed, and has been for some time because he was he1 i
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without bond on other charges for many months.                   Wilson has been a
resident of the District of Columbia for life.
       The government has shown Wilson's historical pattern of drug
dealing in this community, but no evidence of substance abuse was
proffered.      Finally, the defendant has these charges pend'ng
                                                             h
against him, but has no prior convictions.

VI.    NATURE AND SERIOUSNESS OF ANY DANGER POSED BY DEFENDANT'S
       RELEASE
       Whether the defendant would pose a danger to the community
upon his release is a close case.             It was closer before the
government produced the new evidence of the defendant's drug
activity in the D.C. Jail:         The recent incident with Thurston
augments the historical drug dealing evidence with proof that the
defendant has attempted to engage in illegal drug activit k as
recently as June 5, 2005.                                        I
                                  The danger defendant poses to this
community is that he would continue to deal drugs.                   If loOking
the defendant up does not stop him from engaging in illeg'l drug
                                                         4
transactions, no combination of conditions would ensure that he
would cease to do this if he were released.               The defendand's past
physical violence is historic and without more recent
information, the government did not show that the defendant is a
current danger of physical violence to the community.
                                  CONCLUSION
       The defendant has a substantial history of drug deali!ng and
he recently attempted a drug transaction in D.C. Jail.                    I ~find by
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clear and convincing evidence that the defendant poses tklle danger
that he will continue to deal drugs upon his release pent                 ‘g
trial, and that no combination of release conditions coul
prevent this.    Therefore, pretrial detention is warrantee               .n this
case.
        SIGNED this /("day of                          , 2005.



                                                I
                                    RICHARD W. ROBERTS
                                                                     L
                                    United States District Jutm




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